                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


COMMON CAUSE, et al.,

                   Plaintiffs,
      v.

ROBERT A. RUCHO, in his official
capacity as Chairman of the North Carolina
                                                 No. 1:16-CV-1026
Senate Redistricting Committee for the
2016 Extra Session and Co-Chairman of
the    Joint   Select     Committee     on
Congressional Redistricting, et al.,

                   Defendants.



LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, et al.,

                   Plaintiffs,
      v.

ROBERT A. RUCHO, in his official
capacity as Chairman of the North Carolina       No. 1:16-CV-1164
Senate Redistricting Committee for the
2016 Extra Session and Co-Chairman of
the    Joint   Select     Committee     on
Congressional Redistricting, et al.,

                   Defendants.




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      MEMORANDUM OPINION AND ORDER DENYING LEGISLATIVE
           DEFENDANTS’ EMERGENCY MOTION TO STAY

PER CURIAM:

      In a memorandum opinion and order entered January 9, 2018 (the “Order”), this

Court held that North Carolina’s 2016 Congressional Redistricting Plan (the “2016 Plan”)

constitutes an unconstitutional partisan gerrymander in violation of the Equal Protection

Clause of the Fourteenth Amendment, the First Amendment, and Article I of the

Constitution. Common Cause v. Rucho (Common Cause II), --- F. Supp. 3d ---, 2018 WL

341658 (M.D.N.C. Jan. 9, 2018). Before the Court is a motion (the “Motion”) by only

the Legislative Defendants1 in this matter—four Republican members of the North

Carolina General Assembly—to stay this Court’s Order pending Supreme Court review.

Leg. Defs.’ Emerg. Mot. to Stay Pending S. Ct. Rev. & Request for Exp. Rul’g, Jan. 11,

2018, ECF No. 119. Neither the State of North Carolina nor any of the State Board




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          Legislative Defendants in both actions are Robert A. Rucho, in his official
capacity as Chairman of the North Carolina Senate Redistricting Committee for the 2016
Extra Session and Co-Chairman of the 2016 Joint Select Committee on Congressional
Redistricting; David R. Lewis, in his official capacity as Chairman of the North Carolina
House of Representatives Redistricting Committee for the 2016 Extra Session and Co-
Chairman of the 2016 Joint Select Committee on Congressional Redistricting; Timothy
K. Moore, in his official capacity as Speaker of the North Carolina House of
Representatives; and Philip E. Berger, in his official capacity as President Pro Tempore
of the North Carolina Senate. Plaintiffs also name as defendants A. Grant Whitney, Jr.,
in his official capacity as Chairman and acting on behalf of the North Carolina State
Board of Elections (“Whitney”); the North Carolina State Board of Elections
(collectively, with Whitney, the “State Board Defendants”); and the State of North
Carolina (collectively, with the State Board Defendants, “State Defendants”).


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Defendants have sought an emergency stay. Nor has the State of North Carolina or the

State Board Defendants appealed this Court’s Order to the Supreme Court.

       After careful consideration of Legislative Defendants’ arguments, we conclude

that Legislative Defendants have failed to meet their “heavy burden” in seeking the

“extraordinary relief” of staying this Court’s order. Harris v. McCrory, No. 1:13CV949,

2016 WL 6920368, at *1 (M.D.N.C. Feb. 9, 2016) (internal quotation marks omitted).

Therefore, and as further explained below, we exercise our discretion to deny Legislative

Defendants’ motion to stay.

                                           I.

       On February 5, 2016, a panel of three federal judges held that two districts

established by North Carolina’s 2011 decennial congressional redistricting plan

constituted racial gerrymanders in violation of the Equal Protection Clause. Harris v.

McCrory, 159 F. Supp. 3d 600, 604 (M.D.N.C. 2016), aff’d sub nom. Cooper v. Harris,

137 S. Ct. 1455 (2017). Less than two weeks later, the General Assembly adopted the

2016 Plan. Common Cause II, 2018 WL 341658, at *7. Several months later, Plaintiffs

filed the instant actions. Id. at *8–9.

       On June 26, 2017, Legislative Defendants moved to stay these proceedings

pending the Supreme Court’s final decision in Gill v. Whitford, Nos. 1161, 16A1149.

ECF Nos. 74, 75.        Plaintiffs opposed Legislative Defendants’ motion, and State

Defendants took no position. ECF Nos. 78, 79. In an August 29, 2017 order, and

subsequent opinion, this Court denied Legislative Defendants’ stay motion. Common



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Cause v. Rucho (Common Cause I), Nos. 1:16-CV-1026, 1:16-CV-1164, 2017 WL

3981300, at *2 (M.D.N.C. Sept. 8, 2017).

      In October 2017, this Court held a four-day trial, during which the parties

introduced evidence and presented testimony and arguments. Common Cause II, 2018

WL 341658, at *9. Thereafter, the parties filed extensive post-trial briefing. Id. at *9–

10. On January 9, 2018, this Court ruled in favor of Plaintiffs on all of their claims and

gave Defendants until January 24, 2018, to enact a remedial plan. Id. at *10, *74–76.

      On January 11, 2018, Legislative Defendants filed the Motion and also noticed an

appeal to the Supreme Court. Leg. Defs.’ Notice of Appeal, Jan. 11, 2018, ECF No. 121.

Plaintiffs oppose the Motion. ECF No. 122. State Defendants—including the State of

North Carolina—have not asked this Court to stay its Order, nor have they filed an appeal

from the Order to the Supreme Court.

                                            II.

      “The Court considers four factors when determining whether to issue a stay

pending appeal: ‘(1) whether the stay applicant has made a strong showing that he is

likely to succeed on the merits; (2) whether the applicant will be irreparably injured

absent a stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.’” Harris, 2016 WL

6920368, at *1 (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)); accord Long v.

Robinson, 432 F.2d 977, 979 (4th Cir. 1970). “A stay is an intrusion into the ordinary

processes of administration and judicial review, and accordingly is not a matter of right,



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even if irreparable injury might otherwise result to the appeal.” Nken v. Holder, 556 U.S.

418, 417 (2009) (internal quotation marks omitted).

       “[A] stay is considered ‘extraordinary relief’ for which the moving party bears a

‘heavy burden,’” and “[t]here is no authority to suggest that this type of relief is any less

extraordinary or the burden any less exacting in the redistricting context.” Larios v. Cox,

305 F. Supp. 2d 1335, 1336 (N.D. Ga. 2004) (quoting Winston-Salem/Forsyth Cty. Bd. of

Educ. v. Scott, 404 U.S. 1221, 1231 (Burger, Circuit Justice, 1971)); see Personhuballah

v. Alcorn, 155 F. Supp. 3d 552, 558–59 (E.D. Va. 2016) (Diaz, J.) (same); Does 1-5 v.

Cooper, No. 1:13CV711, 2016 WL 10587195, at *1 (M.D.N.C. Mar. 2, 2016) (“The

granting of a stay pending appeal is ‘an extraordinary remedy.’” (quoting Adams v.

Walker, 488 F.2d 1064, 1065 (7th Cir. 1973))). To that end, “[a]s with other types of

cases, district courts evaluating redistricting challenges have generally denied motions for

a stay pending appeal.” Harris, 2016 WL 6920368, at *1 n.1 (collecting cases).

                                             A.

       Legislative Defendants’ Motion does not specifically address the four factors set

forth in Hilton. We nonetheless conclude that even assuming Legislative Defendants had

addressed the governing four factors, they could not satisfy their “heavy burden” to

obtain the “extraordinary relief” of a stay of this Court’s Order.

                                             1.

       To begin, Legislative Defendants fail to make a “strong showing” that they are

likely to succeed on the merits. In particular, their Motion does not dispute this Court’s

unanimous conclusions that, in enacting the 2016 Plan, the General Assembly (1)

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predominantly intended to subordinate the interests of non-Republican voters and

entrench Republican control of the State’s congressional delegation, (2) that the 2016

Plan had its intended effect, and (3) that the 2016 Plan’s invidious partisan effects were

not attributable to the State’s political geography or other legitimate redistricting criteria.

Common Cause II, 2018 WL 341658, at *35–60. Likewise, Legislative Defendants do

not dispute that (1) the 2016 Plan was intended to disfavor individuals and entities that

previously supported non-Republican candidates, (2) the 2016 Plan burdened the political

speech and associational rights of such individuals and entities, and (3) a causal

relationship existed between the General Assembly’s discriminatory motivation and the

First Amendment burdens imposed by the 2016 Plan. Id. at *64–69. Nor do they dispute

that the 2016 Plan amounted to a successful attempt by the General Assembly to favor a

class of voters and candidates and dictate the outcomes of congressional elections. Id. at

*74. Those conclusions rest on extensive factual findings concerning a variety of pieces

and types of evidence, id. at *35–60, *64–69, *74—all of which will be reviewed by the

Supreme Court under the highly deferential “clear error” standard, see Harris, 2016 WL

6920368, at *1 (holding Legislative Defendants failed to make “strong showing” that

they were likely to succeed on merits of appeal of racial gerrymandering decision, when

decision rested on extensive factual findings subject to clear error review);

Personhuballah, 155 F. Supp. 3d at 559 (same).

       Likewise, other than the unsupported statement that Legislative Defendants

“believe this Court’s Order will be reversed by the Supreme Court on appeal,” Motion 6,

Legislative Defendants do not identify any particular errors in this Court’s legal

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reasoning, let alone errors in each of this Court’s bases for concluding that the 2016 Plan

violated the Constitution—as would be necessary for the Supreme Court to reverse this

Court’s judgment. Additionally, we note that with regard to several uncertain legal

issues, this Court’s opinion rendered factual findings under multiple legal standards. For

example, recognizing that the Supreme Court has not decided whether a plaintiff seeking

relief under the Equal Protection Clause must show that invidious partisanship was one

consideration motivating a challenged districting plan’s lines or that the mapdrawers

were predominantly motivated by invidious partisanship, this Court found that Plaintiffs’

intent evidence satisfied either standard. See id. at *45; id. at *78–79 (Osteen, J.,

concurring). Likewise, the Court concluded that regardless of whether Plaintiffs or

Defendants bore the burden under the Equal Protection Clause’s justification prong, the

evidence adduced at trial proved the 2016 Plan’s invidious partisanship was not justified

by the state’s political geography or other legitimate state interests. Id. at *57 n.33

(majority op.).   And the majority concluded that regardless of whether the First

Amendment’s “burden” requirement demands that a plaintiff prove that a partisan

districting plan “chills” or “adversely effects” the plaintiffs’ speech or associational

rights, Plaintiffs’ evidence proved that they suffered cognizable burdens on their First

Amendment rights. Id. at *65–69. That this Court rendered factual findings under

multiple potential legal standards makes it all the more likely that the Supreme Court will

affirm this Court’s judgment, regardless of what standard the Supreme Court adopts.

                                            2.



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       Turning to whether Legislative Defendants have shown an “irreparable injury that

outweighs any injury to the Plaintiffs and the public,” Personhuballah, 155 F. Supp. at

559, we emphasize at the outset that the State Defendants have not requested that this

Court stay its Order, nor have State Defendants appealed this Court’s Order. Rather, only

Legislative Defendants—the Republican leadership of the North Carolina General

Assembly and the legislative redistricting committee responsible for drawing the 2016

Plan—seek a stay of this Court’s Order.

       Chief Justice Roberts has recognized that whether, and to what extent, Legislative

Defendants are authorized to represent the State’s interests in federal election law

litigation is an unsettled question of State law. North Carolina v. N.C. State Conf. of

NAACP, 137 S. Ct. 1399, 1399–1400 (2017) (Statement of Roberts, C.J., respecting the

denial of certiorari).   During the pendency of this litigation, the General Assembly

enacted legislation, over a veto by the Governor, purporting to authorize the General

Assembly to control representation of the State’s interests in litigation challenging the

constitutionality of State statutes. N.C. Gen. Stat. § 114-2(10), as amended by 2017 N.C.

Sess. Law 57, § 6.7(m). But the Governor, as head of the State’s executive branch, has

the authority and obligation under the North Carolina Constitution “to take care that the

laws be faithfully executed.” N.C. Const. art. III, § 5(4); State ex rel. McCrory v. Berger,

781 S.E.2d 248, 258 (N.C. 2016). And the State Attorney General, a constitutional

officer elected statewide, also may have constitutional, common law, and statutory

authority to represent the State’s interests in litigation. Martin v. Thornburg, 359 S.E.2d

472, 479 (N.C. 1987); see also John E. Harris, Note, Holes in the Defense: Evaluating the

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North Carolina Attorney General’s Duty to Defend and the Responses of Other

Government Actors, 92 N.C. L. Rev. 2027, 2048 (2014) (“[T]he [North Carolina]

[C]onstitution seems to contemplate that the legal representation of the State’s positions

falls to the executive branch.”). Additionally, in separate redistricting litigation—in

which the court has asked a Special Master to draw alternative configurations for 9 of

116 districts included in a remedial plan enacted by the General Assembly—Legislative

Defendants have represented that, in that posture, Legislative Defendants lack authority

to represent the interests of the General Assembly as a whole. Leg. Defs.’ Resp. to

Special Master’s Draft Rep. 5, Covington v. North Carolina, No. 15-cv-399, (M.D.N.C.

Nov. 17, 2017), ECF No. 215 (stating that “the [L]egislative [D]efendants do not

themselves speak for the entire General Assembly,” and therefore that “[a] few members

of the legislature, even if they are leaders, are not authorized to state how the entire

legislature would vote on, or amend, draft districts proposed by a law professor”).

       To the extent Legislative Defendants, as individual legislators, lack authority to

represent the State’s interests, then Legislative Defendants can show no meaningful

harm, let alone irreparable harm. In particular, requiring Legislative Defendants—four

members of one of the State’s three branches of government, none of whom are running

for or elected to Congress—to participate in drawing new maps while they await a ruling

from the Supreme Court does not amount to an “irreparable injury.”               Johnson v.

Mortham, 926 F. Supp. 1540, 1542 (N.D. Fla. 1996) (“[T]he mere administrative

inconvenience the Florida Legislature and Florida elections officials will face in

redistricting simply cannot justify denial of Plaintiffs’ fundamental rights.”); Covington v.

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North Carolina, --- F. Supp. 3d ---, 2017 WL 4162335, at *11 (M.D.N.C. Sept. 19, 2017)

(stating that “inconvenience to legislators,” including having to “adjust their personal,

legislative, or campaign schedules,” does not amount to substantial harm).

       And even if Legislative Defendants are entitled under State law to represent the

State’s interests—again, an unsettled question of state law—the timeline for drawing a

new districting plan established by this Court’s Order—which requires the General

Assembly to adopt a new districting plan before the candidate filing period begins and

months before both the primary and general elections—minimizes any harm to state

interests. As another three-judge panel concluded in rejecting a similar motion in a

redistricting case, “[b]y adopting a remedy now, the [State] faces the lesser evil of

implementing new districts at a time when it remains a relatively manageable task; then,

if the [Supreme] Court reverses, the [State] need only revert to districts that it has

operated under for years—a much less daunting challenge.” See Personhuballah, 155 F.

Supp. 3d at 560.

                                             3.

       Whereas staying this Court’s order would not materially injure Legislative

Defendants, it would substantially injure—indeed, irreparably harm—Plaintiffs.           As

numerous courts have recognized in cases holding that a state redistricting plan violates

the Constitution or federal law, “[d]eprivation of a fundamental right, such as limiting the

right to vote in a manner that violates the Equal Protection Clause, constitutes irreparable

harm.” Id. (quoting Johnson, 926 F. Supp. at 1543); see Harris, 2016 WL 6920368, at *1

(same).   “[T]o prolong the creation of a [remedial] plan by the Legislature would only

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serve to prolong the harm that plaintiffs have suffered for many years.” Cousin v.

McWherter, 845 F. Supp. 525, 528 (E.D. Tenn. 1994).

       Additionally, Plaintiffs reasonably seek relief from the unconstitutional 2016 Plan

prior to the 2018 election cycle, which begins in February 2018. Delaying Plaintiffs

relief until after the Supreme Court resolves Legislative Defendants’ appeal creates a

substantial risk that, in the event the Supreme Court affirms this Court’s judgment, this

Court will not have adequate time to afford Plaintiffs the relief to which they are

rightfully entitled—constitutionally compliant districting maps for use in the 2018

election. As this Court previously explained, “given the Court’s ‘responsibility to ensure

that future elections will not be conducted under unconstitutional plans,’ this substantial

risk weighs strongly against granting the requested stay.” Common Cause I, 2017 WL

3981300, at *7 (quoting Larios, 305 F. Supp. 2d at 1344).

       That Plaintiffs and other North Carolina voters cast their ballots under an

unconstitutional congressional redistricting plan in 2012, 2014, and 2016 only enhances

the potential prejudice to Plaintiffs associated with staying these proceedings.         If

Plaintiffs—and North Carolina voters in general—are denied relief before the 2018

election, Legislative Defendants would reap the benefits of their invidious partisan

districting efforts “for another election cycle.” Personhuballah, 155 F. Supp. 3d at 560.

As a result, North Carolinians would cast votes in congressional elections conducted

under unconstitutional maps in 2012, 2014, 2016, and 2018—virtually the entire decade.

Additionally, staying this Court’s order pending Legislative Defendants’ appeal would

perversely “giv[e] [Legislative Defendants] the fruits of victory whether or not the appeal

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has merit,” Jimenez v. Barber, 252 F.2d 550, 553 (9th Cir. 1958), sending a troubling

message to state legislatures that there is little downside to engaging in unlawful

districting practices because “the federal courts are powerless to effectively redress

[voters’] grievances,” Coal. for Educ. in Dist. One v. Bd. of Elections, 370 F. Supp. 42,

58 (S.D.N.Y. 1974). We decline to send such a message.

                                            4.

      Finally, the public interest strongly weighs against staying this Court’s Order.

This Court found that the 2016 Plan violates “both the structure of the republican form of

government embodied in the Constitution and fundamental individual rights preserved by

the Bill of Rights” and the Fourteenth Amendment, Common Cause II, 2018 WL 341658,

at *19. The 2016 Plan, therefore, inflicts “public harms,” Harris, 2016 WL 6920368, at

*2, including “harms to every voter in the [unconstitutional districts],” Personhuballah,

155 F. Supp. 3d at 560. These injuries “are magnified each time they are repeated.”

Larios, 305 F. Supp. 2d at 1344 (denying request to stay remedial proceedings pending

Supreme Court review of a decision invalidating state districting plan). “The public has

an interest in having congressional representatives elected in accordance with the

Constitution.” Harris, 2016 WL 6920368, at *2.        Accordingly, as the Supreme Court

has noted, once a districting scheme has been found unconstitutional, “it would be the

unusual case in which a court would be justified in not taking appropriate action to insure

that no further elections are conducted under the invalid plan.” Reynolds v. Sims, 377

U.S. 533, 585 (1964).

                                            B.

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       Rather than specifically addressing the four stay factors in Hilton, Legislative

Defendants argue that this Court should stay its Order for three reasons: (1) the Supreme

Court’s pending review of two three-judge panel decisions in partisan gerrymandering

cases—Gill v. Whitford, Nos. 1161, 16A1149, and Benisek v. Lamone, No. 17-333—

makes it likely that the Supreme Court will vacate this Court’s Order; (2) the Supreme

Court stayed remedial proceedings in Whitford; and (3) implementation of the Court’s

Order prior to the 2016 election will be unduly disruptive to the State’s election

processes. To the extent these arguments are relevant to the stay inquiry, we find them

unpersuasive.

                                             1.

       As to the potential impact of Supreme Court review of Whitford and Benisek on

this Court’s decision, in denying a previous motion by Legislative Defendants to stay

these proceedings, we explained that Whitford differs from the instant case “in a number

of significant ways.” Common Cause I, 2017 WL 3981300, at *4. In particular, we

noted that there is a distinct possibility that the Supreme Court could reverse Whitford on

standing grounds, without addressing the merits, because the Whitford plaintiffs do not

reside in all of the challenged districts. Id. (citing Whitford v. Gill, 218 F. Supp. 3d 837,

929 (W.D. Wisc. 2016)). By contrast, Plaintiffs in these matters reside in all thirteen

North Carolina congressional districts, and therefore have standing to assert statewide

and district-by-district challenges to the 2016 Plan as a whole. Common Cause II, 2018

WL 341658, at *14 n.9.



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      Additionally, Whitford involved state legislative districts, whereas the instant

cases involve congressional districts. Common Cause I, 2017 WL 3981300, at *5. This

Court unanimously concluded that the 2016 Plans violate provisions in Article I of the

Constitution that pertain only to congressional redistricting, see Common Cause II, 2018

WL 341658, at *71–74; id. at *80–81 (Osteen, J., concurring in part), and therefore are

not—and cannot be—at issue in Whitford.            Likewise, because States have only

“delegate[d]” authority to draw congressional districts, as opposed to their “sovereign”

authority to draw state legislative districts, the instant cases do not present the same

federalism concerns as those in Whitford. Id. at *70 (majority op.) (quoting U.S. Term

Limits, Inc. v. Thornton, 514 U.S. 779, 802–05 (1995)). And whereas the Whitford

plaintiffs advanced a single framework for evaluating partisan gerrymandering claims

under the First Amendment and Equal Protection Clause, Common Cause Plaintiffs

proposed—and this Court adopted—a distinct framework for assessing partisan

gerrymandering claims under the First Amendment. Id. at *64.

      Finally, the trial revealed numerous meaningful factual differences between

Whitford and the instant cases. For example, the Whitford districting plan was enacted as

part of a decennial redistricting, whereas the General Assembly drew the Plan to preserve

the partisan make-up of the General Assembly after federal courts held that North

Carolina’s 2011 congressional districting plan constituted a racial gerrymander. Id. at *4.

Additionally, Plaintiffs adduced direct evidence of the General Assembly’s invidious

partisan intent—including statements by the legislators and consultant responsible for

drawing the 2016 Plan, id. at *35–45—whereas the Whitford Court appears to have

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largely relied on circumstantial evidence of intent. And Plaintiffs introduced numerous

persuasive empirical analyses demonstrating the discriminatory partisan intent motivating

adoption of the 2016 Plan, the 2016 Plan’s discriminatory effects, and the lack of

legitimate justification for those effects, most of which were not presented to the

Whitford court. Id. at *35–60.

      Although there are similarities between the instant cases and Benisek—both cases

involve congressional districts and rely on similar First Amendment theories—Benisek

also is meaningfully distinguishable in numerous ways. Most significantly, Benisek is

before the Supreme Court on appeal from a denial of the plaintiffs’ motion for the

“extraordinary remedy” of a preliminary injunction. Benisek v. Lamone, 266 F. Supp. 3d

799, 808–09 (D. Md. 2017). To that end, unlike the instant cases, which were decided

after full discovery and a four-day trial, Benisek involved only limited factual

development. Id. at 809. In particular, whereas this Court made dozens of pages of

factual findings based on thousands of pages of evidence and testimony, e.g., Common

Cause II, 2018 WL 341658, at *3–8, 35–60, the preliminary injunction record before the

Benisek majority allowed it to render only two pages of factual findings, 266 F. Supp. 3d

at 808–09. And the Benisek Court emphasized that the limited evidence available at the

preliminary injunction stage suggested that the effects of the alleged gerrymander might

not persist in subsequent elections. Id. at 808 (“[T]he razor’s-edge Sixth District race in

2014 is evidence that suggests significant party-crossover voting and calls into doubt

whether the State engineered an effective gerrymander.”). By contrast, a variety of expert

analyses presented by Plaintiffs to this Court proved the 2016 Plan’s discriminatory

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partisan effects and demonstrated that those effects were likely to persist under all

probable electoral scenarios. Common Cause II, 2018 WL 341658, at *47–57. Notably,

the Benisek majority acknowledged that with the benefit of a full trial record the plaintiffs

“might” prevail, but that it could not conclude the plaintiffs were “likely” to prevail on

the limited preliminary injunction record before it. 266 F. Supp. 3d at 808–09; see also

id. at 814 (“The Court remains open to the possibility that the evidence Plaintiffs have

adduced, when subject to robust cross-examination and the development that only a trial

can bring, may satisfy Plaintiffs’ burden of proof.”).

       Benisek also meaningfully differs from the instant case from a legal perspective.

Unlike the instant cases, in which this Court held that the 2016 Plan violated the Equal

Protection Clause and Article I, Section 4, Common Cause II, 2018 WL 341658, at *1,

Benisek does not include challenges under either constitutional provision. And although

the Benisek plaintiffs asserted a claim under Article I, Section 2—which this Court found

the 2016 Plan also violates, id. at *72–73—the Benisek preliminary injunction opinion

did not separately address that claim. And whereas Benisek involves a challenge to a

single congressional district, the instant cases challenge the 2016 Plan as a whole. Id. at

*8, 13–14 & n.9.      Accordingly, the Supreme Court’s conclusion as to whether the

Benisek plaintiffs satisfied their burden to obtain the extraordinary relief of a preliminary

injunction on their First Amendment claim is highly unlikely to resolve, from either a

factual or legal perspective, all issues decided by this Court’s Order.

       In light of the numerous legal and factual differences between Whitford and

Benisek and the instant case, any decision the Supreme Court renders in those cases is

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highly unlikely to undermine all of the factual and legal bases upon which this Court

found the 2016 Plan violated the Constitution and enjoined further use of that plan.

Indeed, the only way Whitford and Benisek would completely dispose of this Court’s

factual findings and legal conclusions would be if the Supreme Court holds that partisan

gerrymandering claims are nonjusticiable under any legal theory, not just the Equal

Protection framework adopted by the Whitford majority and the First Amendment

framework considered by the Benisek majority. But, as this Court recognized in denying

Legislative Defendants’ previous stay motion, “the Supreme Court recently stated that

‘[p]artisan gerrymanders . . . are incompatible with democratic principles.’” Common

Cause I, 2017 WL 3981300, at *6 (quoting Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 135 S. Ct. 2652, 2658 (2015) (alteration in original)). “And the

Court’s last three decisions addressing partisan gerrymandering claims under the Equal

Protection Clause have held that such claims are justiciable.” Id. “It is axiomatic that “if

a precedent of [the Supreme] Court has direct application in a case . . . [lower courts]

should follow the case which directly controls, leaving to [the Supreme] Court the

prerogative of overruling its own decisions.” Id. (quoting Agostini v. Felton, 521 U.S.

203, 237 (1997) (internal quotation marks omitted)).           Accordingly, in ruling on

Legislative Defendants’ Motion, we must follow the Supreme Court’s holding that

partisan gerrymandering claims are justiciable and, therefore, refrain from exercising our

discretion to stay our Order “on the bare possibility that the Supreme Court may reverse

its precedent and flatly bar claims challenging a practice the Court has characterized as



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‘incompatible with democratic principles.’” Id. (quoting Ariz. State Leg., 135 S. Ct. at

2658).

                                              2.

         Next, Legislative Defendants maintain that the Supreme Court’s decision to stay

remedial proceedings in Whitford renders it highly likely that the Supreme Court will stay

remedial proceedings in these matters. Again, we disagree. The Supreme Court did not

explain its decision to stay the remedial proceedings in Whitford. And there are a variety

of reasons the Supreme Court may have decided to stay the remedial proceedings in

Whitford that have no bearing on the instant cases. For example, the Supreme Court may

have concluded that the state appellant in Whitford was likely to prevail on its statewide

standing argument. Or the Court may have believed that the substantial federalism

concerns with invalidating state legislative districts, as opposed to congressional districts,

weighed heavily in favor of staying remedial proceedings until the Court rendered a final

decision. Or the Court may have concluded that the less extensive empirical evidence

introduced in Whitford was insufficient to demonstrate the challenged plan’s

discriminatory effects. Given that the Supreme Court provided no explanation for its

decision to stay the remedial order in Whitford and that there are a variety of reasons for

staying remedial proceedings in Whitford that have no bearing on this case, the Supreme

Court’s decision to stay remedial proceedings in Whitford does not justify the

“extraordinary relief” of staying this Court’s Order and risking that North Carolina will

conduct a fourth congressional election under an unconstitutional districting plan.



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       Legislative Defendants nonetheless suggest that the Supreme Court will stay this

Court’s Order because the Whitford trial court gave the State a longer period of time to

draw the remedial plan and the record in Whitford included several constitutionally

compliant alternative plans. Motion 5. But the Whitford Court was able to give the state

months to draw remedial maps because the next election was nearly two years away

when the court rendered its liability decision. By contrast, the two-week window this

Court provided to the State to draw remedial maps was dictated by the goal of minimally

disrupting the State’s election cycle, which begins in February, and conforms to the

timeframe established by state law. Common Cause II, 2018 WL 341658, at *75. And

contrary to Legislative Defendants’ contentions, the record in this case includes a number

of alternative districting plans.    In particular, a bipartisan group of former judges

convened to serve as a simulated nonpartisan redistricting commission drew an

alternative congressional plan that conforms to virtually all traditional non-partisan

districting criteria. Id. at *36 n.18. And two of Plaintiffs’ experts drew thousands of

simulated districting plans that conform to traditional districting criteria. Id. at *36–42.

                                              3.

       Finally, Legislative Defendants maintain “this Court should stay the Order under

the Supreme Court’s doctrine in Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006),” because

requiring the State to adopt and implement remedial districts at this time will disrupt the

State’s electoral processes. Motion 5–6. As this Court recognized in enjoining further

use of the 2016 Plan, the Supreme Court long has held that once a court finds a

redistricting plan violates the Constitution, “courts should take ‘appropriate action to

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insure that no further elections are conducted under the invalid plan.’” Common Cause

II, 2018 WL 341658, at *74 (quoting Reynolds, 377 U.S. at 585). In Purcell, the

Supreme Court highlighted an exception to this rule: when a state’s election machinery is

already in progress and an election is imminent, courts should be wary of making

changes to state election laws. 549 U.S. at 4–5.

       But Purcell involved an election that was “weeks” away. Id. at 4. By contrast,

here the general election is more than ten months away. Indeed, the election cycle has

not yet officially started. The candidate-filing period does not begin until February 12,

2018, more than two weeks after this Court’s deadline for the General Assembly to enact

a new plan, and the primary elections will not take place until May 2018. Legislative

Defendants identify no cases holding that a Court violates the Purcell exception by

enjoining the use of an unconstitutional districting plan before the start of an election

cycle and months before any election is set to take place. And other courts have enjoined

the use of unlawful election laws with less time until the next general election. See, e.g.,

Harris, 2016 WL 6920368, at *1–2 (denying motion to stay order enjoining use of

unconstitutional redistricting plan when general election was nine months away); Larios,

305 F. Supp. 2d at 1344 (rejecting disruption argument when general election was “more

than eight months away”); Flateau v. Anderson, 537 F. Supp. 257, 266 (S.D.N.Y. 1962)

(rejecting disruption argument when general election was seven months away and

candidate filing period had not started).

       We further “observe that the court has broad equitable power to delay certain

aspects of the electoral process if necessary.” Larios, 305 F. Supp. 2d at 1342 (citing

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Sixty-Seventh Minn. State Senate v. Beens, 406 U.S. 187, 201 n.11 (1972); Swann v.

Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15 (1971)). Accordingly, if this Court

needs to extend the candidate-filing period to ensure any proposed remedial plan enacted

by the General Assembly completely remedies the constitutional violation and is

otherwise legally acceptable, it is within our power to do so. Id. at 1343. Additionally,

we emphasize that the majority’s decision to appoint a special master to draw a back-up

plan concurrent with the General Assembly’s opportunity to enact a remedial plan, and

the Court’s review of any such plan, further ensures that the state’s election cycle will be

minimally impacted. In particular, in the event the General Assembly fails to enact a

remedial plan or enacts a remedial plan that is legally unacceptable, the special master’s

back-up plan will be more quickly available—and thereby subjecting the State’s electoral

process to less disruption—than if the Court waited until after it reviewed the General

Assembly’s remedial to appoint a special master.

                                            III.

       For the foregoing reasons, we deny Legislative Defendants’ motion to stay.

                                                                                  DENIED

                                                        Date: January 16, 2018


                                                        /s/ Hon. James A. Wynn, Jr.

                                                        /s/ Hon. William L. Osteen, Jr.

                                                        /s/ Hon. W. Earl Britt




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